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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA

_____________________________________________________________________

United States of America,                                    Criminal No. 04-125 (RHK/AJB)

                       Plaintiff,                                           ORDER

               v.

Courtney Ann Mithaugen,

                  Defendant.
_____________________________________________________________________


       Defendant’s Motion for Continuance of the Final Revocation Hearing is

GRANTED. The March 26, 2007, hearing date is CANCELED and the parties will be

advised of a new hearing date.

Dated: March 20, 2007

                                             s/Richard H. Kyle
                                             RICHARD H. KYLE
                                             United States District Judge
